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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                    CASE NO. 22-20269-Cr-Scola




  UNITED STATES OF AMERICA            )
                                      )
  v.                                  )
                                      )
  CARLOS ORLANDO LEDESMA,             )
  NADIA ESPERANZA LEDESMA,            )
  OSMANI VALDIVIA PEREZ,              )
  and                                 )
  ROBERTO MARRERO-CISNEROS,           )
                                      )
              Defendants.             )
  ____________________________________)

                    GOVERNMENT=S SENTENCING MEMORANDUM
                         AND RESPONSE TO PSI OBJECTIONS
                  AS TO DEFENDANTS CARLOS AND NADIA LEDESMA

         The United States, through its undersigned Assistant U.S. Attorney, respectfully files this

  Sentencing Memorandum. This memorandum focuses on defendants Carlos and Nadia Ledesma.

     A. INTRODUCTION

         All four defendants charged in this indictment pled guilty to conspiring with each other,

  and with others, to export about 600 outboard engines, knowing that they were stolen, and contrary

  to export laws, in violation of 18 U.S.C. §371. This memorandum summarizes the offense, and

  addresses Carlos and Nadia Ledesma’s objections to the PSI, as well as requests for a downward

  departure and for a downward variance.      Finally, the memorandum addresses the sentencing

  factors in 18 U.S.C. §3553.

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     B. FACTUAL SUMMARY

     The facts are detailed in the agreed factual basis for the guilty pleas.    DE 53, 55.   The facts

  are also described in the PSI.   The following is a summary.

     From 2015 to 2018, a single freight forwarder in Miami, Florida, Netcycle Trading Corp.,

  owned by defendants Carlos and Nadia Ledesma, exported to Mexico about 600 stolen outboard

  engines.   Almost all the engines had false serial numbers created by defendant Roberto Marrero.

     Most of the 600 engines were directed to relatives of defendant Osmani Valdivia, including

  his nephew, Tomas Vale Valdivia (“Vale”).        Vale and others were using the stolen outboard

  engines on boats to smuggle immigrants into the United States. Vale has been sentenced for alien

  smuggling in a separate case.

     Carlos and Nadia Ledesma had formed the freight forwarding company years before, in 2006,

  along with an employee.    Nadia Ledesma is the owner.      She held the required licenses, and had

  an account to submit the export information to the United States.             Carlos Ledesma is the

  warehouse manager.

     Starting at least in 2015, Carlos Ledesma began communicating with individuals who wanted

  to export outboard engines to Mexico.     From 2015 to 2018, dozens of individuals delivered to

  Netcycle stolen outboard engines, without any documentation.        Nadia and Carlos Ledesma and

  their employee would copy the Driver’s License of one of the persons delivering the engines.

  Nadia and her employee created blank forms to create false bills of sale using the names on the

  driver’s licenses.

     Each engine weighs several hundred pounds.          Carlos Ledesma would use the forklift to

  unload the engines.   He allowed codefendant Marrero to come into the warehouse to place false


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  serial number stickers.   The engines arrived at Netcycle with cables and fuel lines cut, and they

  still contained fluids. Carlos Ledesma would drain the fluids, weigh the engines, and prepare the

  engines for transport.

     Nadia Ledesma also had to fill out TSA forms listing the name of the shipper.       For TSA the

  defendants would use the name of one of the persons who delivered the engine.          Prior to each

  export, Nadia Ledesma or her employee would then electronically submit export information to

  the United States based on the false bill of sale.

       On behalf of his nephew, codefendant Valdivia paid Carlos and Nadia Ledesma cash for the

  freight forwarding service. Valdivia also paid Marrero cash for the false serial number stickers.

  Valdivia would also pay cash to the thieves for the engines.

     C. SENTENCING GUIDELINES

         The United States agrees with the PSI’s calculation of the advisory guidelines range of 60

  months, which is the statutory maximum. The United States agrees that the advisory guidelines

  prior to considering the statutory maximum for both defendants would be 87 to 108 months.

         The calculation includes: (1) a base offense level of 20 based on an actual loss of over $11

  million (the average retail cost of the 594 stolen engines); (2) two points because the offense

  involved more than 10 victims; (3) two points because the offense involved sophisticated means;

  (4) two points because the offense involved an organized scheme to receive vessel parts; (5) a

  three-level reduction for the defendants’ acceptance of responsibility and timely notification to

  the United States of their intention to plead guilty; and (6) a Criminal History Category of I.




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     D. DEFENDANTS’ OBJECTIONS TO THE PSI

         1. Sophisticated means

         Both Carlos and Nadia Ledesma object to the sophisticated means enhancement. They

  claim that there is insufficient evidence that they each intentionally engaged in the conduct

  constituting sophisticated means.    First, they characterize their role as a “mere” freight

  forwarder. Second, they argue that the offense is not sophisticated because their combined

  proceeds were only $96,000.

         However, in this case the sophisticated means enhancement is fully supported by the facts

  and the law. USSG §2B1.1(b)(10) provides for a 2 point enhancement if the offense involved

  sophisticated means and the defendant intentionally engaged in or caused the conduct constituting

  sophisticated means.

     Both Carlos and Nadia Ledesma intentionally used sophisticated means, and did so in a

  coordinated and repetitive way. Carlos and Nadia Ledesma were not a “mere” freight forwarder.

  They each engaged in conduct to conceal the thefts and falsify documents. That is why over 50

  individuals delivered close to 600 engines over four years to a single freight forwarder. It was

  because Carlos and Nadia Ledesma allowed for serial numbers to be changed. It was because

  Carlos Ledesma received engines with cables cut and still containing fluids, and he drained and

  prepared them to be accepted by airlines. Nadia Ledesma and her employee created false bills

  of sale and false TSA forms, and they submitted false electronic export information to the United

  States. Carlos Ledesma also filled out the false forms when Nadia Ledesma or the employee

  were not there.




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     The enhancement in this case is supported by recent Eleventh Circuit decisions. United

  States v. Holland, 2023 WL110585 at 10 (11th Cir. 2023) (totality of defendant’s conduct

  supported sophisticated means enhancement including efforts to conceal fraud and preparing

  false invoices); United States v. Munroe, 2022 WL 17826350 at 2-3 (11th Cir. 2022) (spreading

  out illegal activities over an extended timeframe); United States v. Anderson, 2022 WL7970455

  at 1-2 (11th Cir. 2022) (creating and falsifying documents and the methods were repetitive and

  coordinated).

     Furthermore, the offense conduct of each defendant is no less sophisticated because their

  individual cash proceeds - after paying the airlines - was less than the significant loss they and

  their coconspirators caused to hundreds of individuals who had their outboard engines stolen.

  The PSI is correct in its application of a sophisticated means enhancement with respect to both

  Carlos and Nadia Ledesma

         2. Criminal History

         Carlos Ledesma incorrectly objects to 1 criminal history point for falsely notarizing

  affidavits relating to car accident personal injuries. First, he incorrectly argues that it is like

  lying to a police officer. His prior offense involved multiple false claims for accidents that never

  occurred or were staged. He notarized fraudulent affidavits that would be used to obtain

  insurance payments.

         Moreover, even a conviction for lying to a police officer would count if the term of

  probation was more than 1 year. In this case, Carlos Ledesma’s prior sentence was two years’

  probation (plus restitution). This objection has no merit. The PSI is correct. Carlos Ledesma

  has 1 criminal history point.


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     E. DEFENDANTS’ REQUESTS FOR DEPARTURES OR VARIANCES

        1. Loss

        Both Carlos and Nadia Ledesma argue that a departure is warranted because the loss

     overrepresents the seriousness of the offense. They cite to USSG §2B1.1 application note

     21 for the concept that in some cases the specific offense characteristics may result in an

     offense level that does not match the offense. The example in the application note is of a

     fraudulent statement made publicly to the stock market resulting in an aggregate loss that is

     very large but diffuse.

        In this case, the number of victims is not as large as the stock market and the amount lost

     by each victim was not small. The loss is appropriately calculated based the average

     replacement cost of the stolen outboard engines. See United States v. Howard, 887 F.3d

     1072, 1078 (10th Cir. 2018). This is the actual loss and what it would take to make the

     victims whole.

        Also, in this case the loss amount accurately reflects the magnitude and seriousness of

     this conspiracy that involved at least 50 participants, just in the United States.       This

     conspiracy included thieves who were stealing hundreds of engines, which were then being

     exported illegally by a single freight forwarder, and then used to smuggle countless

     immigrants into the United States.

        In this case, the loss amount does not overrepresent the seriousness of the offense. The

     loss amount is calculated based on actual loss, and what the victims needed to be made whole.

     There is no basis for a departure or a variance.




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         2. Zero point offender

         Defendant Nadia Ledesma seeks a two point variance based on a Guideline amendment

  that is likely to become effective in November 2023. That amendment would apply a two point

  reduction for a defendant like Nadia Ledesma who has zero criminal history points.

         However, even if this variance were granted, the offense level would be reduced from 29

  to 27, which still provides for 70 months at the low end. Therefore, the resulting statutory

  maximum of 60 months would still be the applicable sentence.

     F. SENTENCING FACTORS UNDER 18 U.S.C. § 3553

         Title 18 U.S.C. § 3553 lists factors that the Court must consider in fashioning a sentence

  that is sufficient, but not greater than necessary, to comply with the purposes set forth in the

  statute. In this case, the defendants have not yet provided substantial assistance to warrant a

  reduction for cooperation. At this time, the nature and circumstances of the offense and the need

  to afford adequate deterrence, support the 60 month advisory guideline sentence.

         1.   Nature and circumstances of the offense

         As stated above, the conduct in this case was wide reaching. It went on for years and

  impacted hundreds of victims. It required repetitive coordination of thefts, fabrication of false

  serial numbers, quick deliveries, false bills of sale, false TSA documents, and false export

  submissions, and provided outboard engines for immigration smuggling crimes. None of this

  would have been possible without an efficient, skilled, licensed freight forwarder who would be

  willing to repeat this crime hundreds of times. The conduct of Carlos and Nadia Ledesma was

  serious.




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         2.   Need for deterrence

         Freight forwarders are key to having safe and legal imports and exports. The sentence

  in this case will deter the defendants from committing any offenses in the future.

         South Florida is a hub for imports and exports. The sentences of these defendants will

  deter other freight forwarders from exporting stolen property.

     G. CONCLUSION

         The United States requests that the Court impose the applicable guideline sentence of 60

  months. The United States also request that the Court pronounce forfeiture in accordance with

  the plea agreement, and order restitution to the victims who were identified.

                                               Respectfully submitted,

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                                               UNITED STATES ATTORNEY


                                        By:    /s/ Ana Maria Martinez
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                                  CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on MAY 22, 2023 I electronically filed the foregoing
  document with the Clerk of the Court using CM/ECF. I also certify that the foregoing
  document is being served this day on all counsel of record via CM/ECF.

                                                          s/Ana Maria Martinez
                                                       Ana Maria Martinez
                                                       Assistant United States Attorney

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